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                                                                                  FILED
                                                                                   NOV - 4 2021
                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA                    Clerk, U.S. District & Bankruptcy
                                                                             Court for the District of Columbia

 JT WICKRAMARATNA (a.k.a. JAC
 WRIGHT),                                                                   Case: 1:21−mc−00138
                                                                            Assigned To : Unassigned
                        Plaintiff,                         Civil Action No. Assign. Date : 11/4/2021
                                                                            Description: Misc. (O−DECK)
                        v.                                 Chief Judge Beryl A. Howell

 DONALD J. TRUMP,

                        Defendant.

                                            ORDER

       Pending before the Court are plaintiff’s pro se motions to proceed under seal and to

proceed pseudonymously, Pl.’s Mots. at 1–2. The complaint she seeks to file under seal is

duplicative of the complaint she filed in case 21-mc-93. There, plaintiff’s motions to proceed

under seal and to proceed pseudonymously were denied. See Order, ECF No. 1. For the same

reasons articulated in that Order, Plaintiff’s motions to file this complaint under seal and

proceed under pseudonym are again denied. Plaintiff has failed to demonstrate a need for

secrecy or identify consequences likely to befall her if she proceeded in her own name.

       For the foregoing reasons, it is hereby

       ORDERED that the plaintiff’s Motions to Proceed Under Seal and Pseudonymously

are DENIED.

       SO ORDERED.

       Date: November 4, 2021
                                                      __________________________
                                                      BERYL A. HOWELL
                                                      Chief Judge
